                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TEXAS
                          MARSHALL DIVISION

GESTURE TECHNOLOGY               §
PARTNERS, LLC,                   §
                                 §
             Plaintiff           §
                                 §
     v.                          §   CASE NO. 2:21-cv-00040-JRG
                                 §   (Lead Case)
HUAWEI DEVICE CO., LTD.,         §
HUAWEI DEVICE USA, INC.,         §   JURY TRIAL DEMANDED
                                 §
             Defendants.
                                 §

GESTURE TECHNOLOGY               §
PARTNERS, LLC,                   §
                                 §
             Plaintiff           §
                                 §
     v.                          §   CASE NO. 2:21-cv-00041-JRG
                                 §   (Member Case)
SAMSUNG ELECTRONICS CO., LTD.    §
AND SAMSUNG ELECTRONICS          §   JURY TRIAL DEMANDED
AMERICA, INC.,                   §
                                 §
             Defendants.


      DEFENDANTS SAMSUNG ELECTRONICS CO., LTD. AND SAMSUNG
       ELECTRONICS AMERICA, INC.’S REPLY IN SUPPORT OF THEIR
         MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(b)(6)
       GTP’s Response to Defendants’ Motion to Dismiss does nothing to resolve GTP’s failure

to plead facts sufficient to provide fair notice of GTP’s claims and the grounds on which they rest.

Instead, GTP relies on an incorrect reading of case law to justify identifying 24 Accused Features

but failing to provide notice as to how any, much less all, allegedly meet the claims of the Asserted

Patents. Moreover, even taking all inferences in a light most favorable to GTP, no facts exist to

allege Samsung’s knowledge of the Asserted Patents before they expired, and none have been

pleaded. Samsung requests that the Court dismiss GTP’s claims for patent infringement.

I.     GTP FAILS TO STATE A CLAIM FOR DIRECT INFRINGEMENT

       GTP’s Complaint is so vague that Samsung does not have fair notice of the accused

instrumentalities and cannot reasonably prepare an answer much less its defenses. GTP does no

more than provide a bare bones recitation of the exemplary patent claim while generally averring

to the Accused Products and Features. GTP only generally identifies 24 Accused Features in its

Complaint. Some of these identified features, such as Adjust Blur, Smile Shot, and Active Shape

Connect, are so vague that Samsung is unsure what the Accused Feature is, let alone how it might

infringe. The four screenshots GTP does include do not identify how each illustrated feature

allegedly meets the text of the exemplary claim nor even which feature each screenshot allegedly

illustrates. Both this Court’s holding in Chapterhouse, LLC v. Shopify, Inc., No. 2:18-CV-00300-

JRG, 2018 WL 6981828 (E.D. Tex. Dec. 10, 2018) and the cases cited in GTP’s Response support

the conclusion that GTP’s factual allegations fail to provide Samsung with fair notice of the

grounds on which GTP’s direct infringement claim rests. The Court should dismiss GTP’s

allegations of direct infringement under § 271(a).

       As an initial matter, GTP misreads this Court’s reasoning and holding in Chapterhouse.

GTP argues that because Samsung has not alleged a single entity theory for a patent with a system

claim that “Chapterhouse is easily distinguished from this case.” Response at 9. While it is true


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that in Chapterhouse the Court dismissed the allegations of direct infringement for one of the four

asserted patents on this basis, GTP ignores that the Court further dismissed direct infringement

allegations for all four patents because—as in this case—plaintiff failed to provide a sufficient

factual basis to establish a plausible allegation of patent infringement. Compare Chapterhouse,

2018 WL 6981828, at *2 (“Plaintiff must further allege how the screenshots meet the text of the

exemplary claim . . . . Accordingly, as to direct infringement of the ’087, ’989, ’356, and ’698

Patents, the Court GRANTS the Motion.”) with id. at *4 (“[T]here is no allegation that one entity

performs every step . . . . Accordingly, the Court GRANTS the Motion as to the ’356 Patent.”).

GTP also argues that Samsung fails to identify any case law requiring the Complaint to “explain

how the Accused Instrumentalities infringe the Asserted Patents,” appearing to suggest that GTP

has no obligation to plead such allegations. Response at 8. GTP again ignores this Court’s holding

in Chapterhouse that the “Plaintiff must further allege how the screenshots meet the text of the

exemplary claim . . . .” Chapterhouse, 2018 WL 6981828, at *2 (emphasis added). Chapterhouse

is directly on point because, as in Chapterhouse, GTP failed to link its screen shots to the

exemplary claim elements for even one Accused Feature, let alone all 24 Accused Features.

       This conclusion is further supported by the other cases cited in GTP’s Response. First, in

those cases, the plaintiffs supplied a greater level of factual detail than GTP’s Complaint and did

not merely rely on screen shots to loosely couple a supposedly infringing product or function to

an asserted patent. See Iron Oak Techs., LLC v. Acer Am. Corp., No. 6:17-cv-00143-RP-JCM,

2017 U.S. Dist. LEXIS 221346, at *9–10 (W.D. Tex. Nov. 28, 2017) (finding the complaint

sufficient because it identified the process “that allegedly infringe[d],” “compare[d] the process[]

to the [asserted patent], and then gives specific examples of Acer product lines that allegedly

directly infringe . . .”); Uniloc USA, Inc. v. Avaya Inc., No. 6:15-cv-1168-JRG, 2016 U.S. Dist.




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LEXIS 181826, at *17 (E.D. Tex. May 13, 2016) (finding the complaint sufficient in part because

the plaintiff “described the accused functionality within these products, and provided descriptive

illustrations of these products and the accused functionality”). Unlike the cases GTP cites, GTP

does not compare the Accused Features to the Asserted Patents nor explain how any feature

allegedly infringes. Instead, GTP generally identifies 24 Accused Features, provides screenshots

for only an unspecified four of them, and fails to provide any further information tying the features

to the Asserted Patents.

       Second, many of the cases GTP cites only involved a single accused product, without

multiple accused features. See Raytheon Co. v. Cray, Inc., No. 2:16-CV-00423-JRG-RSP, 2017

U.S. Dist. LEXIS 56729, at *10 (E.D. Tex. Mar. 12, 2017) (asserting four patents – identifying

one product and no accused features); Parity Networks, LLC v. Cisco Sys., No. 6:19-CV-00207-

ADA, 2019 U.S. Dist. LEXIS 144094, at *4 (W.D. Tex. July 26, 2019) (asserting four patents –

specifically identifying one representative system and representative product for each patent);

MAZ Encryption Techs. LLC v. BlackBerry Ltd., 6:15-cv-1167-RWS-JDL, 2016 U.S. Dist. LEXIS

191607, at *8–9 (asserting one patent – identifying one system with four specifically identified

subcomponents). Unlike such cases with single accused products and where plaintiff specifically

identified functions or subcomponents, here GTP accuses at least five different series of Samsung

mobile devices, five different individual products, and 24 different camera-related features. Yet,

at best, GTP attempts to link (unsuccessfully) only four of the 24 Accused Features to the asserted

claims by way of screenshots. GTP says nothing about the other features, many of which are so

vague that Samsung is unsure what feature is implicated, let alone how it might infringe.1



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 GTP points to its infringement contentions, served on April 28, 2021, as satisfying Samsung’s
need to “understand more particularly how they [Samsung] infringe the Asserted Patents.”
Response at 8. GTP’s contentions, however, are equally deficient if not more so. Samsung


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       Contrary to GTP’s assertion that Samsung is “in effect, asking the Court to require that

detailed infringement contentions be included in the Complaint,” Response at 4, Samsung is

merely asking to enforce the “fair notice” standard that this and other courts have repeatedly

upheld. GTP’s own case citations confirm this conclusion. See Raytheon, 2017 U.S. Dist. LEXIS

56729, at *10 (“Lyda appears to require factual allegations sufficient to give rise to a plausible

inference that a device meets all elements of a specific claim.”) (citation omitted); Iron Oak, 2017

U.S. Dist. LEXIS 221346, at *7 (“However, [the ‘fair notice’ standard] does require a showing

that ‘each and every limitation set forth in a claim appears in the accused product.’”) (internal

citation omitted). GTP has failed to plead facts sufficient to give Samsung “fair notice of what the

claim is and the ground upon which it rests.” Disc Disease Sols. Inc. v. VGH Sols., Inc., 888 F.3d

1256, 1260 (Fed. Cir. 2018) (emphasis added) (citation omitted).

II.    GTP CANNOT PLEAD FACTS TO SUPPORT ITS ALLEGATION THAT
       SAMSUNG KNEW OF, OR WAS WILLFULLY BLIND TO, THE ASSERTED
       PATENTS BEFORE THE PATENTS EXPIRED

       GTP’s claims under §§ 271(b) and 284 should be dismissed with prejudice because GTP

cannot plead facts alleging Samsung’s knowledge of the Asserted Patents before they expired.

Mot. at 8–12. It is black letter law that a defendant cannot infringe what the plaintiff does not own,

and GTP did not own a present interest in the Asserted Patents’ claimed invention when it filed

the Complaint on February 4, 2021. At most, GTP held an interest in recovery for alleged past

infringement of the invention. Thus, alleging Samsung had knowledge of the Asserted Patents

“as of the filing of this Complaint” is irrelevant. Because GTP can only speculate that Samsung

knew of the Asserted Patents before they expired, and cannot plead any facts in support of such

speculation, GTP’s claims for induced infringement and willful infringement must fail.


informed GTP of these deficiencies in a letter dated May 7, 2021, five days prior to the filing of
GTP’s Response. GTP has not yet responded as to the substance of that letter.


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       A.      GTP Cannot Plead Facts to Support Its Allegation That Samsung Knew of
               the Asserted Patents Before the Patents Expired

       GTP argues that alleging Samsung’s knowledge “as of the filing of th[e] Complaint” is

“sufficient at the pleading stage.” Response at 10. GTP is incorrect. To sustain a claim for relief

under §§ 271(b) and 284, GTP must plead that Samsung had knowledge of the Asserted Patents

“for at least some time during the infringing period.” Lochner Techs., LLC v. AT Labs Inc., No.

2:11-cv-242-JRG, 2012 WL 2595288, at *3 (E.D. Tex. July 5, 2012) (emphasis added); Cellular

Commc’ns Equip. LLC v. HTC Corp., No. 6:13-cv-507, 2015 WL 11118110, at *6 (E.D. Tex. Mar.

27, 2015) (noting that pleading defendant’s knowledge for § 271(b) applies equally to § 284). GTP

ignores this legal and factual reality, and instead quotes snippets from inapposite case law to argue

that “pre-suit” and “post-suit” claims should not be evaluated separately. Response at 9–10. But

the cases cited by GTP all involved patents that had not expired pre-suit, so “post-suit” claims

under §§ 271(b) and 284 were still plausible at the pleading stage. In contrast here, Samsung’s

alleged culpability cannot possibly arise “post-suit” because the Asserted Patents were already

expired. GTP’s claims for relief therefore depend entirely on pleading facts alleging Samsung’s

“pre-suit” knowledge of the Asserted Patents—and GTP has none to offer.

       GTP’s reliance on Lochner Technologies is exemplary of its selective presentation of the

case law. There, like GTP in the present case, plaintiff (“Lochner”) alleged that “[e]ach defendant

had knowledge of the [asserted patent] at least as early as the filing of the original complaint.” Ex.

4 ¶ 19 (No. 2:11-cv-00242-JRG, Dkt. No. 64).2 But unlike GTP, Lochner further alleged that

“[e]ach defendant has been and now is jointly and indirectly infringing by way of inducing



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 Samsung respectfully requests that the Court take judicial notice of Exhibit 4 and other publicly
available filings in this District and in those cases cited by GTP in its Response. Innova Hosp. San
Antonio, Ltd. P’ship v. Blue Cross & Blue Shield of Ga., Inc., 892 F.3d 719, 726 (5th Cir. 2018);
Mot. at nn.8–9. See also Exs. 5–8.


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infringement by others.” Id. (emphasis added). As GTP points out in its Response, this Court

rejected defendant’s arguments that there was a “pleading deficiency at least with respect to any

allegedly infringing activities that pre-date the filing of the Original Complaint.” Response at 9.

GTP omitted the next sentence, though, which explained the Court’s reasoning:

         However, this is not a basis to dismiss Lochner’s indirect infringement claims; as
         it cannot be disputed that Lochner does sufficiently plead that the Moving
         Defendants had knowledge of the asserted patent for at least some time during the
         infringing period.

Lochner Techs., 2012 WL 2595288, at *3. In sum, this Court held that, despite the absence of

facts as to pre-suit knowledge, Lochner’s allegation of ongoing infringement after the filing of the

complaint pled defendant’s knowledge for “at least some time during the infringing period.” Here,

on the other hand, alleging Samsung knew of the Asserted Patents “at least as of the filing of this

Complaint” does not plead Samsung’s knowledge “for at least some time during the infringing

period.” Following the reasoning of Lochner Technologies, GTP’s claims inescapably require

facts alleging Samsung’s “pre-suit” knowledge.

         GTP omits the critical importance of pleading knowledge during the allegedly infringing

period when citing its other cases, as well. For example, in Cellular Communications Equipment

LLC v. HTC Corp., plaintiff alleged that defendant Dell “continues to directly and/or indirectly

infringe,” 3 and that the other defendants “garnered pre-suit knowledge by virtue of their

involvements” with 3GPP. 2015 WL 11118110, at *4. See also InMotion Imagery Techs. v. Brain

Damage Films, No. 2:11-cv-414-JRG, 2012 WL 3283371, at *1 (E.D. Tex. Aug. 10, 2012) (citing

complaint alleging that defendant “continues to infringe”); Estech Sys., Inc. v. Target Corp., No.

2:20-cv-00123-JRG-RSP, 2020 WL 6534094, at *4 (E.D. Tex. Aug. 27, 2020) (citing complaint




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    Ex. 5 ¶ 16 (No. 6:13-cv-00569-KNM, Dkt. No. 31) (emphasis added).


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alleging that defendants “are performing these steps”). Indeed, even the plaintiff in Alacritech Inc.

v. CenturyLink, Inc. recognized the legal import of expired patents on pleading defendant’s

knowledge. There, as in the other cases, plaintiff (“Alacritech”) alleged a plausible claim for relief

of post-filing induced infringement. Ex. 6 ¶ 41 (No. 2:16-cv-00696-RWS-RSP, Dkt. No. 29).

Alacritech argued this in opposing defendant’s motion to dismiss:

       [N]one of the asserted patents in this case have expired and they are all enforceable
       against post-filing indirect infringement. . . . [I]t cannot be disputed that Alacritech
       does sufficiently plead that CenturyLink had knowledge of the asserted patent for
       at least some time during the infringing period and, thus, an absence of allegations
       concerning pre-suit knowledge of the asserted patents is not a basis to dismiss . . .
       indirect infringement claims.

Ex. 7 at 9–10 (No. 2:16-cv-00693-RWS-RSP, Dkt. No. 60) (emphasis in original).

       Here, “an absence of allegations concerning [Samsung’s] pre-suit knowledge” cannot be

saved by the generic allegation GTP sets forth in its Complaint, and which plaintiffs alleged in

these other cases cited in GTP’s Response (i.e., that defendant had knowledge based on the filing

of the complaint). See also, e.g., Uniloc USA, Inc. v. Motorola Mobility LLC, No. 2:16-cv-992,

2017 WL 3721064, at *4 (E.D. Tex. May 15, 2017) (“Uniloc alleges post-filing knowledge of the

patents-in-suit as its basis for induced infringement”). Unlike those cases, the Asserted Patents’

pre-suit expiration means that GTP cannot possibly state a plausible claim for post-suit

infringement. As a result, in order to allege that Samsung knew of the Asserted Patents “for at

least some time during the infringing period,” GTP must necessarily plead facts of Samsung’s

“pre-suit” knowledge. Compare Mot. at 10 (“Apple had knowledge of the ’924 patent as least as

early as June 2016, when GTP contacted Apple in an attempt to license the Asserted Patents.”).

GTP’s contrary arguments are unavailing. Response at 1, 9–10.

       Finally, GTP relies on a 2013 opinion from the Northern District of California for the

proposition that knowledge of expired patents can give rise to a claim for willful infringement.



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But GTP’s Response again addresses only a snippet of that case. FuzzySharp Techs. Inc. v. Nvidia,

Corp, No. 3:12-cv-06375-JST, 2013 WL 4766877, at *3 (N.D. Cal. Sept. 4, 2013). In FuzzySharp,

defendant (“NVIDIA”) conceded it knew of the asserted patents well before the patents expired.

Id.; Ex. 8 at 3 (No. 3:12-cv-06375-JST, Dkt. No. 31). It was against this backdrop that the court

stated that “pre-suit expiration of a patent is not dispositive of a claim for willful infringement.”

Id. Response at 12. By not providing context to this quote, GTP obfuscates the legal requirement

that liability for willful infringement (or induced infringement) requires knowledge of the patent

“during the term of the patent.” 35 U.S.C. § 271; Commil USA, LLC v. Cisco Sys., Inc., 575 U.S.

632, 642 (2015). Unlike NVIDIA, Samsung never conceded that it knew of the Asserted Patents

before their expiration—nor has GTP pled that Samsung had pre-expiration knowledge. GTP’s

claims for §§ 271(b) and 284 liability should be dismissed.

       B.      GTP Cannot Plead Facts to Support Its Allegation That Samsung Was
               Willfully Blind to the Asserted Patents Before the Patents Expired

       GTP argues that it properly alleged Samsung was willfully blind to the Asserted Patents’

existence. Response at 11. GTP accuses Samsung of “semantic gymnastics,” and represents that

its willful blindness allegation “is directly analogous to the allegations in Motiva Patents that the

Court found sufficient.” Id. Not so.

       In Motiva Patents, plaintiff (“Motiva”) pled the following to support its allegation of

defendant’s willful blindness:

               72.     Furthermore, on information and belief, Defendant has a policy or
       practice of not reviewing the patents of others (including instructing its employees
       to not review the patents of others), and thus has been willfully blind of Motiva’s
       patent rights.

               73.    Defendant’s actions are at least objectively reckless as to the risk of
       infringing a valid patent and this objective risk was either known or should have
       been known by Defendant.




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                74.    Defendant’s direct and indirect infringement of the Asserted Patents
       is, has been, and continues to be willful, intentional, deliberate, and/or in conscious
       disregard of Motiva’s rights under the patent.

Mot. Ex. 3 ¶¶ 72–74. Of these three allegations, GTP’s allegation is “analogous” to only ¶ 74.

Response at 11–12, Mot. at 13 (describing how GTP’s allegation is “nearly identical” to ¶ 74 of

the Motiva complaint). But the Court in Motiva Patents determined that it was the facts alleged

in ¶ 72 (and not the legal conclusions alleged in ¶ 74) that established “a factual basis for willful

blindness.” Motiva Patents, LLC v. Sony Corp., 408 F. Supp. 3d 819, 833 (E.D. Tex. 2019) (“The

Complaint includes two factual allegations addressed to willful blindness, each of which is

independently sufficient to satisfy the plausibility standard under Twombly.”). This Court noted

that in ¶ 72, “Motiva alleges a specific policy which gives rise to willful blindness. . . . Creating a

policy prohibiting review of patents is a specific kind of deliberate action to avoid learning of

potential infringement.” Id. (internal quotations omitted). Further, the Court determined that

Motiva alleged “specific acts to implement and enforce its policy,” which could “plausibly suggest

that additional discovery will reveal evidence in support of Motiva’s claim.” Id. at 834 (quoting

Motiva’s complaint ¶ 72). As GTP cannot set forth any “factual basis” to allege Samsung’s willful

blindness, GTP’s claims for §§ 271(b) and 284 liability should be dismissed.

       C.      GTP Sets Forth Legal Conclusions, Not Facts

       Lastly, GTP lists three bullet points to argue that it “properly pled” Samsung’s “intent” to

induce infringement. Response at 10–11. But these bullet points do not set forth any “factual

basis” to allege that Samsung knew of the Asserted Patents to begin with. And if Samsung did not

know of the patents, Samsung could not have had any “intent” to induce infringement. Moreover,

the bullet points merely recite causes of action for induced infringement and willful infringement,

and restate the same legal conclusions GTP made in its Complaint. See Mot. at 9-10, 13. But legal

conclusions (i.e., Samsung’s actions were “willful”) must be supported by factual allegations.


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Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009). Merely alleging that Samsung acted “with the

knowledge of the [Asserted Patents]” is not enough. Cf. Mot. at 10 (“Discussions with Apple”).

See also Meetrix IP, LLC v. Cisco Sys., Inc., No. 1:18-cv-309-LY, 2018 WL 8261315, at *3 (W.D.

Tex. Nov. 30, 2018) (“Meetrix’s legal conclusion that Cisco ‘was willfully blind to the Patents-in-

Suit’ lacks supporting factual allegations”).

       GTP again selectively quotes snippets from cases to argue that its legal conclusions meet

the federal pleading standards. Response at 11. But the Court in Estech Systems found the

complaint sufficient not just because plaintiff alleged “the elements” for §§ 271(b) and 284

liability, but also because plaintiff “provide[d] facts to support [its] allegations” of defendant’s

“knowledge of the patent.” 2020 WL 6534094, at *4–5. Here, unlike the plaintiff in Estech

Systems, GTP has not “provide[d] facts to support [its] allegations” of Samsung’s knowledge.

GTP’s reliance on Alacritech is similarly misplaced, because there, plaintiff “[did] not contest it

did not plead facts concerning pre-suit knowledge.” 2017 WL 4230582, at *2. If GTP takes the

same position, its claims for §§ 271(b) and 284 relief will necessarily fail.

III.   GTP SHOULD NOT BE GRANTED LEAVE TO AMEND

       GTP has not satisfied its pleading obligations at this stage of the case and has not raised a

plausible claim for relief. Samsung respectfully requests that the Court grant its Motion, and

dismiss GTP’s claims of patent infringement with prejudice. Alternatively, if the Court finds that

GTP’s Complaint may be remedied through Rule 15(a), Response at 13, Samsung requests that

the Court permit GTP to amend only its direct infringement claims.

IV.    CONCLUSION

       For the foregoing reasons, and the reasons set forth in Samsung’s Motion to Dismiss,

GTP’s complaint should be dismissed in its entirety.




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DATED: May 18, 2021   Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was filed

electronically in compliance with Local Rule CV-5 on May 18, 2021. As of this date, all counsel

of record had consented to electronic service and are being served with a copy of this document

through the Court’s CM/ECF system under Local Rule CV-5(a)(3)(A).

                                                      /s/ Christopher W. Kennerly
                                                     Christopher W. Kennerly




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